Dear Dr. Mallory:
This letter is in response to your request for our review and certification of the Department of Elementary and Secondary Education's Annual Program Plan for Adult Education 1983-1985 under the Adult Education Act of 1970, as amended.
Our review has taken into consideration the Adult Education Act of 1970, 20 U.S.C. § 1201 et seq., as amended; the federal regulations applicable to such act, 34 C.F.R. parts 75-78, 425-426, 431-432; Article III, Section 38(a), Article IV, Section 15, and Article IX, Sections 1(b), 2(a), and 2(b), Missouri Constitution; Sections 161.092, 171.091, 171.096, and 178.430, RSMo, and related provisions.
It is the opinion of this office that:
1.  The Missouri Department of Elementary and Secondary Education is the state agency primarily responsible for the state supervision of public elementary and secondary schools and is, therefore, the "state education agency" as that term is defined in 20 U.S.C. § 1202(h).
2.  The Department of Elementary and Secondary Education has the authority under state law to submit this Annual Program Plan.
3.  The State Treasurer has authority under state law to receive, hold and disburse federal funds under the Annual Program Plan.
4.  All of the provisions of the foregoing plan are consistent with state law.
5.  The state legally may carry out each provision of the Plan.
6.  The Missouri Commissioner of Education has authority to submit the Plan.
7.  The State Board of Education, as head of the Department of Elementary and Secondary Education, has formally approved the Plan.
8.  The Plan is the basis for state operation and administration of the program, along with applicable state statutes and constitutional provisions.
Very truly yours,
                                  JOHN ASHCROFT Attorney General